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                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LOUIS ROSENTHAL                             :
                                            :
                      Plaintiff,            :          NO. 1:17-CV-02418
                                            :
              v.                            :
                                            :
COMMONWEALTH OF                             :       JURY TRIAL DEMANDED
PENNSYLVANIA, ET AL.                        :
                                            :
                      Defendants.           :

                                           ORDER

       AND NOW this ___________ day of __________, 2018, upon consideration of this

Honorable Court’s Rule to Show Cause re: Service, and Plaintiff’s Response thereto, it is hereby

ORDERED and DECREED that the Rule is DISCHARGED.




                                                    _______________________________
                                                                                 ,J.
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                         UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LOUIS ROSENTHAL                             :
                                            :
                      Plaintiff,            :          NO. 1:17-CV-02418
                                            :
              v.                            :
                                            :
COMMONWEALTH OF                             :      JURY TRIAL DEMANDED
PENNSYLVANIA, ET AL.                        :
                                            :
                      Defendants.           :

    PLAINTIFF’S RESPONSE TO THIS HONORABLE COURT’S RULE TO SHOW
                          CAUSE RE: SERVICE

       Incorporating by reference Plaintiff’s attached Memorandum of Law, Plaintiff

respectfully requests this Honorable Court discharge its Rule to Show Cause regarding service.



                                                   WEISBERG LAW


                                                   /s/ Matthew B. Weisberg
                                                   Matthew B. Weisberg, Esquire
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                            UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LOUIS ROSENTHAL                                     :
                                                    :
                          Plaintiff,                :           NO. 1:17-CV-02418
                                                    :
                 v.                                 :
                                                    :
COMMONWEALTH OF                                     :        JURY TRIAL DEMANDED
PENNSYLVANIA, ET AL.                                :
                                                    :
                          Defendants.               :

    MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFF’S RESPONSE TO THIS
        HONORABLE COURT’S RULE TO SHOW CAUSE RE: SERVICE

        Pending before this Honorable Court in the above-captioned matter is Plaintiff’s action in

employment discrimination.

        This Court issued its Rule to Show Cause as to why the within matter should not be

dismissed for failure of service.

        This action was filed on the believed eve of the statute of limitations – dismissal will be

irreparably prejudicial. There is no prejudice to Defendants. 1 M.K., et al. v. Prestige Academy

Charter School, 256 F.Supp.3d 532, 538 (D.Del. 2017).

        As evident by Plaintiff’s recently docketed Affidavits of Service, Plaintiff has since

perfected service – respectfully suggested as discretionarily warranting the Rule’s discharge.

Petrucelli v. Bohringer, et al., 46 F.3d 1298 (C.A. 3 1995); FRCP 4 (m)(notes).

        Moreover, the Poulis 2 and Pioneer 3 factors (weighing all in favor of Plaintiff) suggests

dismissal inappropriate. All fault is Plaintiff’s counsels’ 4 – not Plaintiff.




1
  Plaintiff’s undersigned counsel has since been in communication with Keli Neary, Esq. – Acting Chief Deputy
Attorney General.
2
  Poulis v. State Farm, et al., 747 F.2d 863 (C.A. 3 1984).
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        All consideration warrants discretionary discharge.

        WHEREFORE, Plaintiff respectfully requests this Honorable Court discharge its Rule to

Show Cause. In the alternative, Plaintiff respectfully requests this Court deem Plaintiff’s nunc

pro tunc service. If this Court entertains dismissal, Plaintiff requests oral argument.



                                                              WEISBERG LAW


                                                              /s/ Matthew B. Weisberg
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                                                              Attorney for Plaintiff




3
  In re O’Brien Envtl., Inc., 188 F.3d 116, 125 N.7 (C.A.3 1999) (citing Pioneer Inv. Svcs. Co. v.Brunswick Assoc.,
507 U.S. 380, 395 (1993); see also, Drippe v. Tobelinski, 604 F.3d 778 (C.A.3 2010); In re Cendant Corp. PRIDES
Lit., 235 F. 3d 176 (C.A.3 2000).
4
  Gary Schafkopf, Esq.’s special admission form will soon pend.
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                          UNITED STATES DISTRICT COURT
                    FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

LOUIS ROSENTHAL                               :
                                              :
                      Plaintiff,              :          NO. 1:17-CV-02418
                                              :
               v.                             :
                                              :
COMMONWEALTH OF                               :       JURY TRIAL DEMANDED
PENNSYLVANIA, ET AL.                          :
                                              :
                      Defendants.             :

                                   CERTIFICATE OF SERVICE

       I, Matthew B. Weisberg, Esquire, hereby certify that on this 24th day of April, 2018, a

true and correct copy of the foregoing Plaintiff’s Response to this Honorable Court’s Rule to

Show Cause Re: Service and Memorandum of Law in Support thereof wwas served via regular

mail, upon the following parties:

                                   Commonwealth of Pennsylvania
                                   d/b/a Pennsylvania State Police
                                         1800 Elmerton Ave.
                                        Harrisburg, PA 17110

                                         Stephen Yanchis
                                        1800 Elmerton Ave.
                                       Harrisburg, PA 17110

                                             Bob Glad
                                        1800 Elmerton Ave.
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                                          Jeffrey Ramos
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                                            Kyle Teter
                                        1800 Elmerton Ave.
                                       Harrisburg, PA 17110
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                         Thomas Tran
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                                  WEISBERG LAW


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